Case 1:24-cv-00115-RSK             ECF No. 27, PageID.152          Filed 10/25/24    Page 1 of 3



                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


JASON L. SANDERS #305405,

               Plaintiff,                          Case No. 1:24−cv−00115−RSK

    vs.                                            Hon. Ray Kent

UNKNOWN WARD, et al.,

               Defendants.
                                         /



                        AMENDED ORDER SETTING EARLY MEDIATION CONFERENCE



     This case was referred to the District Court's Pro Se Prisoner Civil Rights Litigation Early
Mediation Program.

          1.    The Court appoints Joshua Scott Goodrich as the mediator for this case.

          2. The mediation conference will take place on November 13, 2024 at 1:15 PM via
          video conference. The ADR Administrator will provide video connection details to the
          mediator and to Defendant(s), through counsel of record where applicable. The
          Michigan Department of Attorney General shall arrange the video conference with the
          Michigan Department of Corrections (MDOC). The MDOC shall ensure Plaintiff's
          participation.

          3. In preparation for the mediation conference, the parties shall review the Program
          Description, provided with the Order Staying Case and Referral to the Pro Se Prisoner
          Civil Rights Litigation Early Mediation Program (Stay Order).

          4. In the Stay Order, the parties were encouraged to submit their mediation
          statements and supplements to the ADR Administrator as soon as possible. Any
          party that has not already submitted these documents must do so within fourteen (14)
          days of the date of this Order:

                   A. Mediation Statement. The Mediation Statement must be submitted to the
                   ADR Administrator and the attorney(s) for the opposing party (typically the
                   Assistant Attorney General). A form that may be used for this purpose was
                   provided to the parties with the stay order. The mediation statement is limited
                   to five (5) pages and should contain a brief statement about the nature of the
                   case and a brief discussion of disputed factual, legal, damages and evidentiary
                   issues. In addition to the 5−page statement, up to five (5) pages of exhibits
                   may be submitted. The envelope containing the mediation statement must
                   clearly state, "Contains Mediation Statement."

                   B. Mediation Supplement. The Mediation Supplement must be submitted to
                   the ADR Administrator only. A form that may be used for this purpose was
Case 1:24-cv-00115-RSK       ECF No. 27, PageID.153          Filed 10/25/24      Page 2 of 3



            provided to the parties with the stay order. The mediation supplement is
            limited to 1−2 pages and should contain a discussion of the party's strongest
            points, an honest discussion of the weakest points, realistic settlement options,
            including both monetary and non−monetary options, and a brief discussion of
            anything else that is important for the mediator to know before starting the
            mediation. The mediation supplement will be viewed only by the mediator and
            is not to be shared with, or sent to, the opposing side. The envelope
            containing the mediation supplement must clearly state, "Contains Mediation
            Supplement."

     The ADR Administrator will forward these documents to the assigned mediator. These
     documents are intended solely for mediation purposes and must not be filed or e−filed
     with the Judge or Clerk's office.

     All documents should be sent to the ADR Administrator at the following address:

                                       U.S. District Court
                                      ADR Administrator
                                       399 Federal Bldg.
                                     110 Michigan St. NW
                                    Grand Rapids, MI 49503

     5. If medical claims are raised in the complaint, the Court orders the disclosure of
     Plaintiff's medical records related to the complaint in accordance with the Health
     Insurance Portability and Accountability Act of 1996 (HIPAA) and its accompanying
     rules and regulations governing the disclosure, maintenance, use and disposal of
     protected health information (PHI) as follows:

            A. For purposes of this order, PHI shall have the same scope and definition
            as set forth in 45 C.F.R. § 160.103 and 164.501.

            B.    The MDOC, a covered entity as defined in 45 C.F.R. § 160.103, shall
            disclose Plaintiff's medical records related to the claims raised in the complaint
            to the ADR Administrator within fourteen (14) days of the date of this Order.
            Nothing in this Order relieves any covered entity, party, their attorneys, agents,
            or representatives, or other personnel who request, receive, and/or review
            documents containing PHI from complying with all other applicable state and
            federal laws and regulations regulating or governing the request, review, or
            disclosure of PHI pertaining to Plaintiff to the extent and subject to the
            conditions outlined herein.

            C.    The ADR Administrator is authorized to share PHI received under this
            Order with the appointed mediator, who is authorized to share PHI with any
            other PEM attendee (as set forth in Section VIII. of the Program Description) as
            necessary for purposes of mediation, provided that each intended recipient first
            agrees to comply with the terms of this Order.

            D.    Recipients of PHI from the mediator are entitled to use such PHI in any
            manner reasonably related to early mediation, which includes disclosure to
            their attorneys of record, the attorney's support staff, and agents, insurers,
            experts, and consultants.

            E. Recipients of PHI under this Order are prohibited from using PHI for any
            purpose other than those reasonably related to early mediation. All records
            containing PHI produced as part of this Order shall be confidential and will not
            be attached to any document filed with the Court without leave of Court.

            F.   Within thirty (30) days after the conclusion of early mediation, any person
Case 1:24-cv-00115-RSK      ECF No. 27, PageID.154          Filed 10/25/24     Page 3 of 3



            or entity in possession of Plaintiff's PHI received pursuant to this Order shall
            return such PHI to the MDOC or destroy all copies, including electronically
            stored copies.

     IT IS SO ORDERED.



      Dated: October 25, 2024                  /s/ Ray Kent
                                             RAY KENT
                                             U.S. Magistrate Judge
